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                            UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF MASSACHUSETTS
                                     BOSTON DIVISION



 STUDENTS FOR FAIR ADMISSIONS, INC,

               Plaintiff,
                                                         Civil Action No. 1:14-cv-14176-ADB
               v.

 PRESIDENT AND FELLOWS OF
 HARVARD COLLEGE (HARVARD
 CORPORATION),

               Defendant.


 AMICI CURIAE HARVARD STUDENT AND ALUMNI ORGANIZATIONS’ NOTICE
  REGARDING TRIAL WITNESSES AND REQUEST REGARDING DELIVERY OF
                       OPENING STATEMENT

       Pursuant to this Court’s October 3, 2018 Order Regarding Motions to Participate in Trial

Proceedings by Amici Curiae, the amici Harvard Student and Alumni Organizations

(“Organization Amici”) submit the following notice and request concerning (1) the names of the

witnesses whose testimony Organization Amici intend to offer at trial, and (2) Organization

Amici’s intent to deliver its opening statement in court rather than in writing.

I.     Organization Amici Witnesses

       In its October 3rd Order, this Court ruled that Organization Amici may present “up to 4

witnesses from among the individuals identified in their motion[] . . . .” (Order at 5.) In

accordance with this Order, Organization Amici shall present the following witnesses:

       1.      Catherine Ho, Co-President, Asian American Women’s Association;
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       2.      Margaret Chin, Co-founder and Board member of the Coalition for a Diverse

Harvard, Past President of the Harvard-Radcliffe Asian American Association, and former Board

member of the Harvard Asian American Alumni Alliance;

       3.      Cecilia Nuñez, Vice President, Fuerza Latina of Harvard, and an officer of the

Phillips Brooks House Association; and

       4.      Madison Trice, Political Action Chair of the Association of Black Harvard

Women, and a member of the Harvard-Radcliffe Black Students Association.

       Each of the foregoing witnesses was identified in Organization Amici’s September 7,

2018 motion and has submitted a declaration in this matter. Organization Amici are in the

process of conferring with the Student Amici and the parties regarding the scheduling of witness

testimony, as set forth in the Court’s Order.

II.    Organization Amici’s Opening Statement

       The Court’s October 3rd Order permits Organization Amici to either “submit a written

opening statement or to deliver an opening statement in court, provided that it is (a) less than 15

minutes in length, and (b) delivered by an attorney with 5 years or less of experience.” (Order at

4.) Organization Amici submit this Notice of their intent to present an oral opening statement, to

be delivered by attorney Jennifer A. Holmes of the NAACP Legal Defense & Education Fund

(“LDF”).

       As a 2012 law school graduate, Ms. Holmes falls just beyond the Court’s directive that

amici counsel delivering opening statements have “5 years or less of experience.” Organization

Amici request that the Court modestly extend the parameters of its Order to permit Ms. Holmes’

delivery of the opening statement and examination of two witnesses for the following reasons:

first, Ms. Holmes is the second-most junior attorney working for LDF on this matter, and the



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least-tenured attorney on the case will be unavailable on October 15, 2018 due to an oral

argument scheduled in another matter. Second, Ms. Holmes has not yet had an opportunity to

present an opening statement at trial. Accordingly, allowing Ms. Holmes to deliver the

Organization Amici’s opening statement will be fully consistent with the spirit of the Court’s

Order.

         WHEREFORE, Organization Amici respectfully request that the Court allow Ms.

Holmes to deliver the opening statement and examine two Organization Amici witnesses.



Dated: October 10, 2018


                                                    Respectfully submitted,

                                                    /s/ Jennifer A. Holmes
                                                    Michaele N. Turnage Young*
                                                    Jennifer A. Holmes*
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                                                    Cara McClellan*
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                                  /s/ Kenneth N. Thayer
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                                  Counsel for Amici Curiae 21 Colorful
                                  Crimson, Harvard Black Alumni Society,
                                  Association of Black Harvard Women,
                                  Coalition for a Diverse Harvard, First
                                  Generation Harvard Alumni, Fuerza Latina
                                  of Harvard, Harvard Asian American
                                  Alumni Alliance, Harvard Asian American
                                  Brotherhood, Harvard Islamic Society,
                                  Harvard Japan Society, Harvard Korean
                                  Association, Harvard Latino Alumni
                                  Alliance, Harvard Minority Association of
                                  Pre-Medical Students, Harvard Phillips
                                  Brooks House Association, Harvard South
                                  Asian Association, Harvard University
                                  Muslim Alumni, Harvard Vietnamese
                                  Association, Harvard-Radcliffe Asian
                                  American Association, Harvard-Radcliffe
                                  Asian American Women’s Association,
                                  Harvard-Radcliffe Black Students
                                  Association, Harvard-Radcliffe Chinese
                                  Students Association, Kuumba Singers of
                                  Harvard College, Native American Alumni
                                  of Harvard University, Native Americans at
                                  Harvard College, and Task Force on Asian
                                  and Pacific American Studies at Harvard
                                  College.

                                  *Admitted Pro Hac Vice




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on the 10th day of October, 2018, a copy of the above and foregoing

document was filed electronically with the Clerk of Court using the CM/ECF system. Notice of

this filing will be sent to all counsel of record by operation of the court’s electronic filing system.

                                                       /s/ Kenneth N. Thayer
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